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                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                         MIDLAND-ODESSA DIVISION

 RESONANT SYSTEMS, INC. d/b/a
 RevelHMI,
                                                  Case No. 7:23-cv-00077-ADA
                  Plaintiff,
  v.                                              JURY TRIAL DEMANDED

 APPLE INC.,

                  Defendant.


                          AMENDED SCHEDULING ORDER


                                Deadline                                      New Date
 Deadline to serve Final Infringement and Invalidity Contentions. After     8/15/24
 this date, leave of Court is required for any amendment to Infringement
 or Invalidity contentions. This deadline does not relieve the Parties of
 their obligation to amend if new information is identified after initial
 contentions.
 Deadline to amend pleadings. A motion is not required unless the           8/1/24
 amendment adds patents or patent claims. (Note: This includes
 amendments in response to a 12(c) motion.)
 Deadline for the first of two meet and confers to discuss significantly    10/10/24
 narrowing the number of claims asserted and prior art references at
 issue. Unless the parties agree to the narrowing, they are ordered to
 contact the Court to arrange a teleconference with the Court to resolve
 the disputed issues.
 Close of Fact Discovery.                                                   2/6/25

 The parties will serve all 30(b)(6) notice(s) by November 15, 2024, the
 parties shall meet and confer on the notice(s) by December 1, 2024, and
 by December 15, 2024, the served party will offer a non-overlapping
 deposition date for each 30(b)(6) witness (unless the parties agree that
 an overlapping deposition date for any particular witness is acceptable).
 Opening Expert Reports                                                    2/27/25




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 Rebuttal Expert Reports                                                      3/27/25

 Close of Expert Discovery                                                    4/10/25

 Deadline for the second of two meet and confer to discuss narrowing the 4/17/25
 number of claims asserted and prior art references at issue to triable
 limits. To the extent it helps the parties determine these limits, the
 parties are encouraged to contact the Court for an estimate of the amount
 of trial time anticipated per side. The parties shall file a Joint Report
 within 5 business days regarding the results of the meet and confer.
 Dispositive motion deadline and Daubert motion deadline.                  4/24/25

 Serve Pretrial Disclosures (jury instructions, exhibits lists, witness lists, 5/8/25
 discovery and deposition designations).
 Serve objections to pretrial disclosures/rebuttal disclosures.               5/22/25

 Parties to contact Court to confirm their pretrial conference and trial 5/26/25
 dates.
 Serve objections to rebuttal disclosures and File Motions in-limine.         5/29/25

 File Joint Pretrial Order and Pretrial Submissions (jury instructions, 6/10/25
 exhibits lists, witness lists, discovery and deposition designations); file
 oppositions to motions in limine.
 Deadline to meet and confer regarding remaining objections and 6/19/25
 disputes on motions in limine.
 File joint notice identifying remaining objections to pretrial disclosures 6/26/25
 and disputes on motions in limine.
 Final Pretrial Conference. Held in person.                                   7/11/25
                                                                              1:30 pm
 Jury Selection/Trial.                                                        8/4/25
                                                                              8:00 am




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